940 F.2d 654Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Ronald Eugene WASHINGTON, Defendant-Appellant.
    No. 89-7837.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 25, 1990.Decided Aug. 15, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CR-87-130-K, CA-89-135-K)
      Ronald Eugene Washington, appellant pro se.
      Stephen L. Purcell, Assistant United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before K.K. HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Ronald Eugene Washington appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny Washington's motion for appointment of counsel and affirm on the reasoning of the district court.  United States v. Washington, CR-87-130-K;  CA-89-135-K (D.Md. Sept. 14, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    